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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


JASON ZUHL,

            Plaintiff,
                                                     Case No. 1:12-cv-1380

v.                                                   Hon. Ray Kent

COUNTY OF BERRIEN, et al.,

            Defendants.
                                      /


                         ORDER TO LIFT STAY AND RE-OPEN CASE

               On September 11, 2014, this Court denied defendant Haskin’s motion for summary

judgment on the ground of qualified immunity. See Opinion (docket no. 40); Order (docket no. 41).

Defendant appealed the order to the Sixth Circuit Court of Appeals. See Notice of Appeal (docket

no. 44). On December 17, 2014, the Court entered an order staying and administratively closing this

case pending the appeal. See Order (docket no. 46). The Sixth Circuit affirmed this Court’s order

and a mandate has issued. See Zuhl v. Haskins, No. 14-2346 (Opinion) (6th Cir. June 16, 2016)

(docket no. 48) and (Mandate) (July 11, 2016) (docket no. 49). Accordingly,

               IT IS ORDERED that the stay is lifted and the Clerk is directed to re-open the case.



Dated: November 29, 2016                     /s/ Ray Kent
                                             RAY KENT
                                             United States Magistrate Judge
